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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA
                           NEW ORLEANS DIVISION

IN RE: KATRINA CANAL               *     CIVIL ACTION NO. 05-4182
BREACHES CONSOLIDATED              *
LITIGATION                         *            SECTION K
                                   *
This relates to:                   *          MAGISTRATE 2
NOS. 05-4181                       *
       06-1885                     *    JUDGE STANWOOD DUVAL
       06-4024                     *
       06-4389                     * MAGISTRATE JUDGE WILKINSON
       06-5771                     *
       06-5786                     *
       07-0206                     *
       07-3500                     *
       07-3612                     *
       07-5023                     *
       07-5040                     *
                 MOTION TO ENROLL AS COUNSEL OF RECORD

       NOW INTO COURT, comes Kevin P. Klibert, Attorney at Law, who

respectfully requests that he be enrolled as Counsel of Record for Daniel E. Becnel, Jr. in

connection with a Motion for Disqualification and Other Relief filed by Ashton

O’Dwyer, Attorney at Law and Pro Se Litigant in the above-referenced matters.

       It is specifically requested that the following attorney at law be enrolled on Mr.

Becnel’s behalf:

                              KEVIN P. KLIBERT, ESQ.
                             BECNEL LAW FIRM, L.L.C.
                            106 W. 7th Street, P.O. Drawer H
                                 Reserve, LA 70084
                                    (985) 536-1186
                              (985) 536-6445 (facsimile)
                               kklibert@becnellaw.com
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       WHEREFORE, undersigned counsel prays that his name be entered as Attorney

of Record for Daniel E. Becnel, Jr. in connection with the Motion to Disqualify and Other

Relief filed by Ashton O’Dwyer.

                                                    Respectfully submitted,



                                                    /s/ Kevin P. Klibert
                                                    Kevin P. Klibert (La. 26954)
                                                    Becnel Law Firm, L.L.C.
                                                    106 W. 7th Street, P.O. Drawer H
                                                    Reserve, LA 70084
                                                    (985) 536-1186
                                                    (985) 536-6445 (facsimile)
                                                    kklibert@becnellaw.com


                            CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing pleading has been served upon all

parties through their counsel of record via CM/ECF on this 6th day of February, 2008.



                                                            /s/ Kevin P. Klibert
                                                            Kevin P. Klibert
